UNITED STATES DISTRICT COURT f:! c
NORTHERN DISTRICT OF ALABAMA `Ld ij

JEROME EDWARDS,
Plaintiff(S);

 

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) NO. CV97-P-O3278-S

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) V'

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)

VS.

SWEEPING CORP; OF AMERICA, INC,
Defendant($).

MAR 5 1 1998

Pursuant to the parties' Stipulation Of Dismissal this case
is hereby DISMISSED with prejudice, each party to bear its cwn
costs.

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//MC /~€_\/'

CHief Judge Sam C. Poin§é%, Jr.

 

Service LiSt:
Mr. Jeffrey W. Bennitt
Mr. Michael L. Lucas

 

